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                        Exhibit A

                Asset Purchase Agreement
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______________________________________________________________________________

                       ASSET PURCHASE AGREEMENT

                      DATED AS OF DECEMBER 10, 2023

                              BY AND AMONG

                CROWN ENTERPRISES, LLC, AS PURCHASER,

                                    AND

                          YELLOW CORPORATION

            AND ITS SUBSIDIARIES NAMED HEREIN, AS SELLERS

______________________________________________________________________________
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                              ASSET PURCHASE AGREEMENT

        This Asset Purchase Agreement (this “Agreement”), dated as of December 10, 2023, is
made by and among Crown Enterprises, LLC, a Michigan limited liability company (“Purchaser”),
and Yellow Corporation, a Delaware corporation (as in existence on the date hereof, as a debtor-
in-possession “Yellow”) and the Subsidiaries of Yellow that are indicated on the signature pages
attached hereto (each a “Seller” and collectively with Yellow, the “Sellers”). Purchaser and Sellers
are referred to herein individually as a “Party” and collectively as the “Parties.” Capitalized terms
used herein shall have the meanings set forth herein, including Article XI.

        WHEREAS, on August 6, 2023 (the “Petition Date”), Seller, together with certain of
Seller’s Affiliates (the “Debtors”), commenced voluntary cases under chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), which cases are jointly
administered for procedural purposes under In re Yellow Corporation, et. al., Case No. 23-11069
(CTG) (Bankr. D. Del. August 6, 2023) (collectively, the “Bankruptcy Cases”).

       WHEREAS, on August 29, 2023, the Ontario Superior Court of Justice (Commercial List)
(the “Canadian Court”) recognized the Bankruptcy Cases as “foreign main proceedings” in
proceedings (the “Canadian Recognition Proceedings”) commenced by Yellow in its capacity as
foreign representative in respect of the Bankruptcy Cases (in such capacity, the “Foreign
Representative”) pursuant to the Companies’ Creditors Arrangement Act (the “CCAA”).

        WHEREAS, on September 15, 2023, the Bankruptcy Court entered its Order
(I)(A) Approving the Bidding Procedures For the Sale or Sales of the Debtors’ Assets;
(B) Scheduling Auctions and Approving the Form and Manner of Notice Thereof; (C) Approving
Assumption and Assignment Procedures; (D) Scheduling Sale Hearings and Approving the Form
and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear
of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption and Assignment
of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief Docket No. 22
(the “Bidding Procedures Order”).

        WHEREAS, Purchaser desires to purchase the Acquired Assets and assume the Assumed
Liabilities from Sellers, and Sellers desire to sell, convey, assign, and transfer to Purchaser the
Acquired Assets together with the Assumed Liabilities, in a sale (i) authorized by the Bankruptcy
Court pursuant to, inter alia, sections 105, 363 and 365 of the Bankruptcy Code, in accordance
with the other applicable provisions of the Bankruptcy Code and the Federal Rules of Bankruptcy
Procedure and the local rules for the Bankruptcy Court, all on the terms and subject to the
conditions set forth in this Agreement and the Sale Order, and (ii) recognized by the Canadian
Court in the Canadian Recognition Proceedings pursuant to the Canadian Sale Recognition Order.

       NOW, THEREFORE, in consideration of the foregoing premises and the mutual
representations, warranties, covenants, and agreements set forth herein, and intending to be legally
bound hereby, the Parties hereby agree as follows:
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                                                             SELLERS

                                                             YELLOW CORPORATION

                                                             By:                                       _
                                                             Name: Daniel L. Olivier
                                                             Title: Chief Financial Officer



                                                             NEW PENN MOTOR EXPRESS LLC

                                                             By:     ____________________________________
                                                             Name: Anthony Carreño
                                                             Title: Manager


                                                             USF HOLLAND LLC

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury



                                                             USF REDDAWAY INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC FREIGHT CANADA COMPANY

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury




                                         [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]
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                                                             SELLERS

                                                             YELLOW CORPORATION

                                                             By:                                       _
                                                             Name: Daniel L. Olivier
                                                             Title: Chief Financial Officer



                                                             NEW PENN MOTOR EXPRESS LLC

                                                             By:     ____________________________________
                                                             Name: Anthony Carreño
                                                             Title: Manager


                                                             USF HOLLAND LLC

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury



                                                             USF REDDAWAY INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC INC.

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury


                                                             YRC FREIGHT CANADA COMPANY

                                                             By:                                       _
                                                             Name: Anthony Carreño
                                                             Title: Senior Vice President, Treasury




                                          [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]
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                        SCHEDULES


                        relating to the


              ASSET PURCHASE AGREEMENT


                dated as of December 10, 2023

                        by and among

               CROWN ENTERPRISES, LLC,

                         as Purchaser,

                             and

                    YELLOW CORPORATION

         AND ITS SUBSIDIARIES NAMED THEREIN,

                          As Sellers
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                                      SCHEDULES
                To Asset Purchase Agreement, dated as of December 10, 2023

These are the Schedules to that certain Asset Purchase Agreement (the "Agreement"), entered into
as of December 10, 2023, among Crown Enterprises, LLC, a Michigan limited liability company
("Purchaser"), and Yellow Corporation, a Delaware corporation) (“Yellow”) and the Subsidiaries
of Yellow that are indicated on the signature pages attached thereto (each a “Seller” and
collectively with Yellow, the “Sellers”). Purchaser and Seller are referred to herein individually as
a “Party” and collectively as the “Parties.” Capitalized terms used in these Schedules and not
otherwise defined herein have the meanings given to them in the Agreement.

These Schedules have been arranged for purposes of convenience in separately numbered sections
corresponding to the sections of the Agreement; provided, however, each section of these
Schedules will be deemed to incorporate by reference all information disclosed in any other section
of these Schedules, and any disclosure in the Schedules will be deemed a disclosure against any
representation or warranty set forth in the Agreement. The specification of any dollar amount or
the inclusion of any item in the representations and warranties contained in the Agreement, these
Schedules or the attached exhibits is not intended to imply that the amounts, or higher or lower
amounts, or the items so included, or other items, are or are not required to be disclosed (including
whether such amounts or items are required to be disclosed as material or threatened) or are within
or outside of the Ordinary Course, and no Party will use the fact of the setting of the amounts or
the fact of the inclusion of any item in the Agreement, these Schedules or exhibits in any dispute
or controversy between the Parties as to whether any obligation, item or matter not set forth or
included in the Agreement, these Schedules or exhibits is or is not required to be disclosed
(including whether the amount or items are required to be disclosed as material or threatened) or
are within or outside of the Ordinary Course. In addition, matters reflected in these Schedules are
not necessarily limited to matters required by the Agreement to be reflected in these Schedules.
Such additional matters are set forth for informational purposes only and do not necessarily include
other matters of a similar nature. No information set forth in these Schedules will be deemed to
broaden in any way the scope of the parties’ representations and warranties. Any description of
any agreement, document, instrument, plan, arrangement or other item set forth on any Schedule
is a summary only and is qualified in its entirety by the terms of such agreement, document,
instrument, plan, arrangement, or item which terms will be deemed disclosed for all purposes of
the Agreement. The information contained in the Agreement, in these Schedules and exhibits
thereto is disclosed solely for purposes of the Agreement, and no information contained herein or
therein will be deemed to be an admission by any Party to any third party of any matter whatsoever,
including any violation of Law or breach of Contract.
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